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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                      )
                                               )
                v.                             )       CRIMINAL NO. 16-10343-ADB
                                               )
MICHAEL GURRY,                                 )       LEAVE TO FILE REPLY
     Defendant.                                )       GRANTED JANUARY 10, 2019
                                               )

                         UNITED STATES’ REPLY IN SUPPORT OF
                         MOTION FOR ORDERS OF FORFEITURE

         The United States of America, by its attorney, Andrew E. Lelling, United States Attorney

for the District of Massachusetts, respectfully provides this reply in support of its Motion for

Orders of Forfeiture (Doc. 1049). The parties seemingly agree on the necessary burdens of proof

and the majority of the legal principles. Gurry, however, challenges the method used to calculate

the amount of his proceeds to be included in the Order of Forfeiture (Money Judgment). Gurry

does not contest the forfeiture of his stock albeit under a different prong of the racketeering

forfeiture statute. 1   See Doc. 1101 at 5 (Gurry does not dispute that any shares…are

forfeitable…”).

    I.       Calculating Gurry’s Proceeds

             a. All gross proceeds

         The parties agree that the Defendant must forfeit proceeds obtained, directly or indirectly,

from racketeering activity, that there must be a nexus between the crime and the proceeds, that the



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          Pursuant to 18 U.S.C. § 1963(a)(3), the government moved to forfeit Gurry’s remaining
Insys shares, if any, as proceeds of his crime. Gurry does not contest that the remaining shares,
if any, are subject to forfeiture but suggests that they are forfeitable pursuant to 18 U.S.C.
§§ 1963(a)(1) and (2). The government maintains that they are subject to forfeiture under any
subsection of Section 1963(a) and does not object to an entry of an order pursuant to any or all
such statutory authority.
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proceeds are forfeitable to the extent they are tainted by the racketeering activity, and that proceeds

are defined as property the Defendant would not have obtained but-for the commission of the

offense. The parties disagree on the application of the facts to the law – the government maintains

that but-for the racketeering conspiracy, Gurry would not have obtained his salary and bonus

payments, awards of Insys stock options later exercised and liquidated, and shares of Insys stock.

Gurry, however, challenges the government’s argument that but-for the crime, all Insys income

was tainted. Gurry claims, therefore, the forfeiture order must be reduced by 1) payment for work

Gurry performed that was not in furtherance of the racketeering conspiracy, 2) payment related to

valid cancer pain-related claims, and 3) payment related to claims not processed via the IRC.

        Here, Insys was permeated with the racketeering conspiracy and the criminal enterprise did

not parse Gurry’s involvement as finely as he proposes – every dollar earned by Insys was part

and parcel of the scheme and every success of the scheme, and successful concealment of the

scheme, was foreseeable to Gurry and led to proceeds in his pocket. See United States v. Reiner,

397 F. Supp. 2d 101, 106 (D. Me. 2005) (all revenue of health club that was a front for a prostitution

business was proceeds of the prostitution offense because the club would not have existed, and

thus would have had no income at all, but for the illegal activity; that some of its revenue was for

legal services is therefore irrelevant), aff ’d, 500 F.3d 10, 19 (1st Cir. 2007) (District Court’s ruling

not clearly erroneous; “income derived from activities designed to conceal the illegal nature of the

enterprise are appropriately subject to forfeiture.”); see also United States v. Warshak, 631 F.3d

266, 329–330 (6th Cir. 2010) (all proceeds of defendant’s business are forfeitable because the

business was “permeated with fraud”; but even if a part of the business was legitimate, the proceeds

of that part are nevertheless forfeitable if the legitimate side of the business would not exist but for

the “fraudulent beginnings” of the entire operation); United States v. Smith, 749 F.3d 465, 488–89



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(6th Cir. 2014) (following Warshak; if business is so pervaded by fraud that its revenue stream

would not have existed but for the fraud, any asset derived from that revenue stream is forfeitable

as proceeds); United States v. Park, 825 F. Supp. 2d 644, 648 (D. Md. 2011) (following Warshak,

entire business forfeited as proceeds if it would not have been solvent but for “the infusion of

illegally-obtained funds”).

       Gurry argues that Insys performed legitimate work and that his role at Insys included

legitimate responsibilities. Nevertheless, his argument ignores that the company only became

successful because of the racketeering conspiracy. The Court need look no further than the two

failed Initial Public Offering attempts – pre-conspiracy – to find proof to a preponderance of the

evidence at least, that Insys’ successes, and Gurry’s income, were predicated and inextricably tied

to the crime.

           b. Gurry never withdrew from the conspiracy

       Gurry also argues that his receipt of racketeering conspiracy proceeds stopped when daily

supervision of the IRC was transferred from him to others. To credit Gurry’s argument, the Court

must find that Gurry actually withdrew from the conspiracy when these duties were reassigned –

and he did no such thing. See United States v. Collins, 209 F.3d 1, 4 (1st Cir. 1999) (“A defendant

in a conspiracy is liable for all the reasonably foreseeable loss caused to the victims of the

conspiracy.”); see also United States v. Alas, 196 F.3d 1250, 1251 (11th Cir. 1999) (defendant

liable for restitution for all losses from conspiracy – even when he became incarcerated during the

conspiracy; liable for all acts and foreseeable consequences of conspiracy).        “[I]n order to

withdraw from a conspiracy, ‘a conspirator must act affirmatively either to defeat or disavow the

purposes of the conspiracy.’” United States v. Piper, 298 F.3d 47, 53 (1st Cir. 2002) (quoting

United States v. Juodakis, 834 F.2d 1099, 1102 (1st Cir. 1987)). “[M]ere cessation” of activities



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is not withdrawal; withdrawal requires affirmative action – typically a full confession from a

defendant to law enforcement or a defendant informing co-conspirators that he/she has withdrawn

from the goals of the conspiracy. See e.g. United States v. Nason, 9 F.3d 155, 162 (1st Cir. 1993);

United States v. Munoz, 36 F.3d 1229, 1234 (1st Cir. 1994). Gurry never withdrew from the

racketeering conspiracy. There is no evidence that Gurry confessed to law enforcement or told

his co-conspirators he was abandoning the conspiracy.          Gurry remained a member of the

conspiracy past 2014 and continued to profit from the success of the criminal enterprise. Gurry

continued to draw a salary and to otherwise benefit from the conspiracy and, particularly given his

role in establishing the IRC, the acts and consequences of those acts to victims even after his

reassignment were entirely foreseeable to him. Even if Gurry withdrew from the conspiracy,

which he did not, his withdrawal would still not magically change those tainted RICO proceeds

into clean money.

            c. Stock

         Gurry also raises the same arguments with respect to his earnings tied to the execution of

Insys stock options. Gurry requests the Court reduce the amount of forfeiture either to 20% of

his stock option income, or the amount of proceeds obtained limited to non-cancer claims and

claims that were submitted via the IRC. For the reasons set forth in Sections I(a) and (b) above,

these arguments also fail.

   II.      The Requested Forfeiture Does Not Violate the Eighth Amendment

         The parties agree that the Eighth Amendment’s prohibition of excessive fines applies to

forfeiture and that the excessive fines test prohibits forfeiture that is “grossly disproportional to

the gravity of the offense.” See United States v. Bajakajian, 524 U.S. 321, 323 (1998). The

Defendant bears the burden to prove to a preponderance of the evidence that the forfeiture is



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grossly disproportionate. See von Hofe v. United States, 492 F.3d 175, 183 (2d Cir. 2007); see

also United States v. Fogg, 666 F.3d 13, 18–19 (1st Cir. 2011); United States v. Aguasvivas-

Castillo, 668 F.3d 7, 16 (1st Cir. 2012); United States v. Castello, 611 F.3d 116, 120 (2d Cir.

2010). Forfeiture of traceable proceeds of a crime, such as those at issue here, are not often found

to violate the Eighth Amendment because to find otherwise, the Court must decide that a Defendant

may keep some of the traceable fruits of his or her crime. Typical Eighth Amendment forfeiture

violations are found not in traceable proceeds cases, but rather in cases involving property

‘involved in’ crimes, such as the corpus of a failure to report crime, or the corpus involved in a

money laundering scheme. The Defendant cannot meet his burden here to show repayment of his

traceable proceeds would be unconstitutional.

       Bajakajian was convicted of failure to report exported currency and the government sought

forfeiture of the entire amount of non-reported currency as property involved in the offense (not

proceeds). Id. The District Court denied the government’s request for all the money involved,

an amount approximately 70 times the available maximum fine, and instead, ordered forfeiture of

just $15,000, which is the amount the Court deemed comparable to a fine it might otherwise order.

Id. The Supreme Court affirmed and observed that Bajakajian’s offense was solely a reporting

offense, that the money involved in the crime was not proceeds of any other offense, and that the




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harm caused was minimal.2 The Court provided a three-prong test for determining whether a

forfeiture order is permitted under the Eighth Amendment.           Id.; see also United States v.

Aguasvivas-Castillo, 668 F.3d 7, 17 (1st Cir. 2012) (applying 3 Bajakajian factors); see also

Carpenter, 2019 WL 5287926 at *7-8. The three factors are:

       (1) whether the defendant fits into the class of persons at whom the statute was aimed;

       (2) the other penalties authorized by Congress or the Sentencing Commission; and

       (3) the harm caused.

Id. Congress is “entitled to deference” when fixing the penalty for an offense. See United States

v. Jose, 499 F.3d 105, 110–11 (1st Cir. 2007). The remedy for an Eighth Amendment violation

is to reduce the forfeiture only as much as necessary to avoid the violation. See e.g. United States

v. Castello, 611 F.3d 116, 121 (2d Cir. 2010).

       First. The first factor is whether defendant fits into the class of persons at whom the

statute was aimed. This factor weighs in favor of the forfeiture. The jury heard significant

evidence of Gurry’s role in a racketeering conspiracy, in violation of the statute, and this Court has

also upheld his Racketeering Conspiracy conviction. The RICO statute covers broad types of

criminal conduct, including Gurry’s in this case, and the courts have observed that the manner in




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        Congress disagreed with the Court’s view of the seriousness of the crime and directly
responded to the Bajakajian holding by enacting a new criminal statute – bulk cash smuggling.
The committee report stated:

       The Committee believes ... that bulk cash smuggling is an inherently more serious
       offense than simply failing to file a Customs report. Because the constitutionality of a
       forfeiture is dependent on the “gravity of the offense” under Bajakajian, it is anticipated
       that the full forfeiture of smuggled money will withstand constitutional scrutiny in
       most cases.

H.R.Rep. No. 107–250(I), at 53 (2001)(emphasis added). So too, Congress could not have been
more clear that they consider RICO an incredibly serious offense.
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which a convicted defendant violated a specific statute need not be deemed “typical.” See e.g.

United States v. Heldeman, 402 F.3d 220, 223 (1st Cir. 2005); United States v. Lyons, 870 F. Supp.

2d 281, 293 (D. Mass. 2012) (Saris, J.). Gurry contends that RICO’s scope is limited to “mafia

dons, not pharmaceutical executives” but “Racketeering Activity” is broadly defined and includes

the very crimes Gurry committed, mail and wire fraud. See 18 U.S.C § 1961(a)(1) (lengthy list

of crimes used to define “racketeering activity”). In addition, the statute is intended to eradicate

organized crime – here, the jury determined that these Defendants conspired to act in exactly the

ways the statute was concerned about – as organized criminals perpetrating nationwide crimes.

       Second. The second factor also favors the forfeiture. When considering the second

factor, the authorized penalties, the court gives “great weight to [the] statutory judgment by

Congress” and looks at the authorized maximum fine. Carpenter, 2019 WL 5287926 at *8. The

maximum penalty, and not the guideline range, is the appropriate benchmark because the

“statutory scheme is a better guide to whether the forfeiture order is excessive.”         See e.g.

Carpenter, 941 F.3d at 11. As discussed above, Congress was explicit in its intent that RICO

forfeiture be applied broadly and the Supreme Court and First Circuit have upheld that goal. See

e.g. Russello, 464 U.S. at 27-28; Hurley, 63 F.3d at 21 (generous construction of RICO forfeiture,

in line with Congress' unusual command that RICO (although a criminal statute) be broadly

interpreted.”); Alexander v. United States, 509 U.S. 544, 562 (1993) (“RICO conviction subjects

the violator not only to traditional, though stringent, criminal fines and prison terms, but also

mandatory forfeiture under § 1963.”).

       Gurry does not dispute a loss between $9,500,000 and $25,000,000.3 See Doc. 1065 at




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        The loss is likely in excess of $300 million. However, even under Gurry’s agreed-
upon loss, his forfeiture is constitutional.
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14. The maximum fine authorized by the legislature is “not more than the greater of twice the

gross gain or twice the gross loss.” See 18 U.S.C. § 3571(d). Under this alternative framework,

Congress authorized a potential maximum fine of between $19 and $50 million. Thus, any order

of forfeiture below $19 to $50 million, including the requested forfeiture, would readily satisfy

this factor. Unlike the proposed forfeiture here, $5,102,996.66, which is less than the loss under

any calculation, the vacated forfeiture order in Bajakajian, for example, was more than 70 times

the guideline.    See Heldeman, 402 F.3d at 223 (distinguishing Bajakajian and observing

Heldeman’s forfeiture was only 15% of the maximum fine).

        Third. The third factor, the harm caused, easily favors the forfeiture. This Court has

recognized that Defendants’ “fixation on increasing the number and dosage of Subsys

prescriptions combined with prescribers’ interest in increased speaker payments, ultimately

harmed an untold number of patients.” See ECF No. 1028 at 21. In addition to the untold number

of patients harmed, the Defendant also directly harmed government and commercial insurers

through the use of the Insys Reimbursement Center and its daily fraudulent activities. The

Defendant’s nationwide and long-lasting racketeering scheme caused a significant amount of

pecuniary, physical, and emotional harm.

        Levesque.       The First Circuit has interpreted Bajakajian to require a fourth step, an

inquiry into whether the forfeiture would deprive the defendant of his livelihood. See United

States v. Levesque, 546 F.3d 78, 83 (1st Cir. 2008) (fourth step should be considered). However,

this affirmative defense to forfeiture is rarely applied and, unlike the facts of this case, applies only

in extreme cases. United States v. Aguasvivas-Castillo, 668 F.3d 7, 16 (1st Cir. 2012). Inability

to pay at sentencing “is not at all sufficient to render a forfeiture unconstitutional, nor is it even

the correct inquiry.” Id. at 85. Because money judgments may be enforced in the future, and not



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at sentencing, they simply do not deprive the Defendant his livelihood. Id. A defendant could

easily come into money later. Id. In addition, significantly, the Attorney General has the

discretion in the future to “remit a forfeiture on the grounds of hardship to the defendant.” Id. In

United States v. Fogg, the defendant appealed the forfeiture order and argued the inability to

pay/Levesque factor. 666 F.3d 13 (1st Cir. 2011). Citing Levesque, the First Circuit noted that

because a money judgment may be collected later, inability to pay at sentencing is not the

appropriate question. Id. Here, the fourth factor does not prohibit the forfeiture because the

Defendant may come into money in the future, the government may choose to remit the forfeiture,

and because the government has not yet sought to forfeit any of the Defendant’s assets.

   III.       Equal Protection/Tax Payments

          The Defendant also incorrectly contends that he is entitled to an offset due to his payment

of “income and capital gains taxes.” The Defendant fails to acknowledge that this argument is

foreclosed by binding First Circuit precedent. See United States v. Hurley, 63 F.3d 1, 21 (1st Cir.

1995) (rejecting argument that “proceeds” means “net proceeds” or “net profits” under

§ 1963(a)(3)). The Defendant also fails to inform the Court that this issue is presently under

review by the First Circuit in United States v. Glenn A. Chin. Appeal No. 18-1263.4 Chin, an

employee of the New England Compound Pharmacy (“NECC”), was convicted of racketeering,

racketeering conspiracy, forty-three counts of mail fraud and a number of other crimes in

connection to his role in the 2012 fungal meningitis outbreak that caused at least 753 cases of

fungal meningitis and 64 fatalities.

          Pursuant to 18 U.S.C. § 1963(a)(3), the government moved for an Order of Forfeiture equal




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         The First Circuit heard oral argument on November 5, 2019 and the parties are awaiting
a decision.
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to the amount of money Chin obtained from NECC as the gross proceeds of his crimes. See

United States v. Barry J. Cadden et. al., 1:14-cr-10343-RGS, Doc. 1391 (United States’ Motion

for Order of Forfeiture). First, the District Court agreed with the government that Chin must

forfeit the salary he was paid by NECC during the time is was operating as a criminal enterprise –

much like Insys was here.         Id. at Doc. 1505, 33-34 (transcript of February 15, 2018

forfeiture/restitution hearing) (Judge Stearns: “I think the law is quite clear that [salary]” is

forfeitable as proceeds.). Then, the District Court, over government objection, subtracted the

amount of tax Chin paid on his proceeds from Chin’s gross proceeds. The defendant appealed his

conviction and the government cross-appealed on a number of grounds, including this issue. See

Cross-Appeal Reply Brief for the United States, United States of America, Appellee / Cross-

Appellant, v. Glenn A. Chin, Defendant-Appellant / Cross-Appellee., 2019 WL 4689076, *15

(C.A.1).

       The First Circuit has routinely reaffirmed Hurley’s holding, rejecting calls to limit

forfeiture awards to the defendant's “net income of the illegal ... operation.” United States v.

Iacaboni, 363 F.3d 1, 4 (1st Cir. 2004). The Hurley holding forecloses any deduction for costs

and expenditures connected to the racketeering proceeds, including expenditures relating to tax

liability. Where a statute authorizes forfeiture of criminal “proceeds,” it refers to the defendant's

“receipts rather than profits.” Levesque, 546 F.3d at 82. “Withheld taxes that an employer pays

to the government on behalf of its employees are part of their compensation.” Brown v. United

States, 591 F.2d 1136, 1141 (5th Cir. 1979). Even in forfeiture cases permitting forfeiture of net

proceeds, taxes are not a direct cost and are not deducted from the gross. See e.g. United States

v. Gorski, 880 F.3d 27, 42-43 (1st Cir. 2018). In Gorski, using a net proceeds analysis, Gorski

argued “that a credit for his tax payments and compensation is constitutionally required.” Id. at



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43. The First Circuit said they are “aware of no clear supporting authority for this constitutional

argument.” Id.

       Nevertheless, the Defendant asks the Court to craft a formula based on his own tax

payments and his “detailed records”, but the law precludes this request.            Hurley held that

forfeiture under Section 1693(a)(3) targets the gross proceeds obtained by the defendant.

       Finally, the Defendant contends that forfeiture of his gross proceeds would result in a

windfall to the government due to his previous tax payments. But forfeiture is not a second tax

assessment. See e.g. Gorski, 880 F.3d at 42-43. And Congress did not intend for “‘rigid and

technical definitions drawn from other areas of the law,’ ” including the tax code, to limit forfeiture

judgments under Section 1963(a). United States v. DeFries, 129 F.3d 1293, 1314 (D.C. Cir.

1997) (quoting Russello v. United States, 464 U.S. 16, 21 (1983)).

                                               Respectfully submitted,

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